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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

       v.
                                                 Cr. No. 18-10450-MLW
 HENRI SALVADOR GUTIERREZ,
 ELISEO VAQUERANO CANAS,
 JONATHAN TERCERO YANES, and
 DJAVIER DUGGINS,
           Defendants.


        MEMORANDUM IN RESPONSE TO ORDER (DKT. NO. 544)
       REGARDING ADMISSIBILITY OF GUTIERREZ’S STATEMENTS
                  UNDER FED. R. EVID. 804(b)(3)

      The government submits this memorandum in response to the court’s January 26,

2021 order regarding whether defendant Henri Salvador Gutierrez’s statements to CW-

13 are admissible pursuant to Fed. R. Evid. 804(b)(3) at a joint trial. See Dkt. No. 544.

For the reasons described below, Gutierrez’s statements to CW-13 are admissible against

all defendants pursuant to Fed. R. Evid. 804(b)(3) and they do not raise confrontation

clause issues when admitted against Gutierrez’s co-defendants.

      I.     Factual and Procedural Background

      On October 24, 2018, Gutierrez a/k/a Perverso made a series of incriminating

statements to CW-13 while they were both housed together at the Middlesex House of

Corrections in Billerica. See, e.g., Dkt. No. 554 (government’s sealed opposition to

Gutierrez’s motion to suppress); Dkt. No. 556 (sealed stipulation regarding Gutierrez’s

motion to suppress) and Ex. 1 thereto (draft translation of October 24, 2018 recording).

      When he made his statements to CW-13, Gutierrez believed that CW-13 was a

fellow MS-13 member and Gutierrez did not know that CW-13 was cooperating with law



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enforcement. See Dkt. No. 554 at pp. 15-17 (noting it is undisputed that Gutierrez believed

he was speaking with a fellow gang member and not with an informant; highlighting

Gutierrez’s own motion, which unequivocally states, “what he [Gutierrez] clearly did not

know was that CW-13 was an agent of law enforcement…”).

      When speaking with CW-13, Gutierrez not only incriminated himself, but he also

incriminated each of his co-defendants in the charged MS-13 racketeering conspiracy.

See generally Dkt. No. 556, Ex. 1 (draft transcript containing numerous statements

against interest by Gutierrez, which incriminated both himself and his co-conspirators).

Recognizing that these statements provide devastating evidence of their membership in

the charged conspiracy, each of the remaining co-defendants have filed motions seeking

to exclude Gutierrez’s statements. The government has previously responded in detail to

each of the motions. See Dkt. No. 364 (Government’s omnibus opposition to (i) motion

in limine (Dkt. No. 334) filed by Djavier Duggins a/k/a Haze seeking to exclude the

Gutierrez statements, and (ii) joint motion in limine (Dkt. No. 357) filed by Eliseo

Vaquerano Canas a/k/a Peligroso and Jonathan Tercero Yanes a/k/a Desalmado seeking

to exclude the Gutierrez statements)

      As stated in prior filings, Gutierrez’s statements to CW-13 are admissible against

each of the defendants for several independent reasons, and the government has

traditionally sought to introduce such statements against co-conspirators of the declarant

under Fed. R. Evid. 801(d)(2)(E) as statements “made by the party’s coconspirator during

and in furtherance of the conspiracy.” See Dkt. No. 364 (arguing, inter alia, that

Gutierrez’s statements meet each of the requirements for admission under Rule

801(d)(2)(E)). One of the traditional benefits of this approach is that the court does not

need to determine whether a hearsay exception applies because such co-conspirator


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statements are, by rule, “not hearsay” in the first instance. See Fed. R. Evid. 801(d)(2). It

usually follows that given that such co-conspirator statements are not hearsay—let alone

testimonial hearsay—admission under this rule generally does not require a trial court to

constantly respond to complaints about the Confrontation Clause, because the

Confrontation Clause only applies to testimonial statements.

       Given the above, the government often seeks to introduce such co-conspirator

statements under Rule 801(d)(2)(E).        The First Circuit has found no error in the

applicability of Rule 801(d)(2)(E) to statements unwittingly made by a declarant to an

informant he wrongly believed was his co-conspirator, including the admission of similar

recorded statements in recent MS-13 prosecution(s) in this District. See United States v.

Leoner-Aguirre, 939 F.3d 310, 320 (1st Cir. 2019), cert. denied, 140 S. Ct. 820 (2020)

(“Statements made by the defendant’s co-conspirators during and in furtherance of the

conspiracy are not hearsay. Fed. R. Evid. 801(d)(2)(E). Here, sufficient evidence

supported the district court's decision to admit the recorded statement by [the declarant]

Menjivar: Menjivar was a member of the Enfermos [clique], and he made this statement

to an informant while discussing another Enfermos member’s alleged betrayal.”). The

government continues to believe that Gutierrez’s statements—where, like some other

recent defendants, he unwittingly tells another MS-13 member who is a government

informant about the gang’s activities—qualify as co-conspirator statements.

       Notwithstanding the potential applicability of Rule 801(d)(2)(E) to Gutierrez’s

statements, the court has astutely noted that Gutierrez’s statements may also be

admissible under Rule 804(b)(3) as statements against interest. The government had not

previously briefed this issue given that it has traditionally sought to admit co-conspirator

statements under Rule 801(d)(2)(E), but the government appreciates the opportunity to


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brief the issue now. As stated below, the government’s research indicates that Gutierrez’s

statements—once deemed to be statements against interest under Rule 804(b)(3)—would

also be admissible against his co-defendants at a joint trial. 1

       II.    Gutierrez’s Statements Are Admissible Against Him
              Under Fed. R. Evid. 804(b)(3) as Statements Against Interest.

       Before turning to whether Gutierrez’s statements are admissible against his co-

defendants, the government notes that Gutierrez’s statements are admissible against him

as statements against interest under Fed. R. Evid. 804(b)(3). The government has always

intended to use Rule 804(b)(3) as one of the primary mechanisms to admit Gutierrez’s

statements against Gutierrez himself, along with Rule 801(d)(2)(A) (which allows for the

admission of statements by a party opponent). See, e.g., Dkt. No. 554 (opposition to

motion to suppress) at p. 52, n. 11 (“[E]ven if Gutierrez’s statements were hearsay—and

they plainly are not hearsay as a definitional matter—the statements would still meet

hearsay exceptions. Fed. R. Evid. 804(b)(3), for example, makes clear that statements

against interest are exceptions to hearsay. It is difficult to imagine a statement being more

against a declarant’s interest than statements that expose him to criminal liability for

conspiracy and murder.”); Dkt. No. 364 (opposition to motion in limine) at p. 31 (“[T]he

defendants cannot seriously argue that Gutierrez’s statements are not admissible as

statements against penal interest. Gutierrez made multiple statements admitting to

murder. It is hard to imagine a category of statements more against a declarant’s penal

interest.”) (citations omitted).



1      At trial, the government will likely seek to admit Gutierrez’s statements under any
and all applicable rules of evidence, and the government believes it would be prudent for
the court to make a finding in the alternative that Gutierrez’s statements are also
admissible as co-conspirator statements under Fed. R. Evid. 801(d)(2)(E).

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       III.   Gutierrez’s Statements Are Admissible Against his Co-
              Defendants and There is No Confrontation Clause Violation.

       Under Rule 804(b)(3), a hearsay statement may be admissible as a statement

against interest if it (a) was self-inculpatory when made because it would “expose the

declarant to civil or criminal liability,” and (b) it “is supported by corroborating

circumstances that clearly indicate its trustworthiness.” Both these factors are present in

this case, the statements are admissible under Rule 804(b)(3), and once deemed

admissible under that rule, the statements are admissible against every defendant.

              A. The Statements Were Against the Declarant’s Interest.

       A statement is self-inculpatory under Rule 804(b)(3) if it is “sufficiently against

the declarant’s penal interest ‘that a reasonable person in the declarant’s position would

not have made the statement unless believing it to be true.’” United States v. Barone, 114

F.3d 1284, 1295 (1st Cir. 1997) (quoting Williamson v. United States, 512 U.S. 594, 603–

04 (1994)).

       Even a cursory review of Gutierrez’s statements to CW-13 make clear the self-

inculpatory nature of the statements. See generally Dkt. No. 556, Ex. 1 (draft translation

of October 24, 2018 recording). Gutierrez admits to his membership in the MS-13

criminal enterprise, his association with multiple other MS-13 members, and his

participation in racketeering activity in furtherance of the MS-13 enterprise, including his

personal participation in the murders of two teenagers. It would defy credulity for the

defendants to argue that Gutierrez’s statements admitting to membership in one of the

world’s most violent gangs and his statements about committing murder and other crimes

while a member of MS-13 were not statements against his interest. It is difficult to




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imagine many statements that are more incriminating and against a declarant’s penal

interest than the statements made by Gutierrez.

       The government submits that in analyzing the applicability of Rule 804(b)(3), the

difficult question for the court is not whether the rule applies to Gutierrez’s statements

on or about October 24, 2018, but whether the entirety of Gutierrez’s statements are

statements against his interest. Williamson contemplates a statement-by-statement

analysis to determine whether statements are against a declarant’s penal interest.

Accordingly, defendants sometimes try to nitpick and exclude certain portions of broader

incriminating statement. Here, the defendants have not done that (for example, by asking

that a particular sentence here or there be redacted). Instead, they have sought to exclude

the entirety of Gutierrez’s statements on or about October 24, 2018. Nonetheless, for

present purposes, the government submits that the entire transcript is admissible because

each of the statements either qualify by themselves as statements against interest under

Rule 804(b)(3), or they are otherwise admissible under some other rule of evidence.

       Notably, an important corollary to Rule 804(b)(3) provides for significant other

portions of Gutierrez’s statements to be admitted: specifically, even as to statements that

do not directly inculpate Gutierrez himself, Gutierrez’s statements about his co-

conspirators are statements against his interest because by their very nature, they

demonstrate his personal involvement in the conspiracy. See, e.g., Barone, 114 F.3d at

1297 (in a racketeering case, holding that the declarant’s statements were admissible

under Rule 804(b)(3), even when not directly inculpating himself in a murder, because

they were nonetheless still against his penal interest “insofar as they inculpate him in

criminal acts and conspiracies with others to commit criminal acts.”) (citations

omitted). The same is true here. Even in those instances where Gutierrez is not directly


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and explicitly inculpating himself (e.g., when he is describing his personal participation

in two murders), his statements inculpating his co-defendants are functionally also

statements against his own interest because they implicate him by association in the

criminal acts and conspiracies of his co-conspirators. At the very least, for example, the

statements inculpate himself in the “association-in-fact” enterprise currently alleged in

the pending indictment against him.

       Moreover, to the extent that the statements implicate Gutierrez in the MS-13 gang

and its activities, “they demonstrate ‘an insider's knowledge’ of a criminal enterprise and

its criminal activities, which is sufficiently against [a declarant’s] penal interest to come

within the exception.” Barone, 114 F.3d at 1297 (citing United States v. Barrett, 539 F.2d

244, 252 (1st Cir. 1976) and Williamson, 512 U.S. at 606–07 (Scalia, J., concurring)). See

also United States v. Volpendesto, 746 F.3d 273, 288 (7th Cir. 2014) (holding that

statements that demonstrate a declarant’s “inside knowledge” about a conspiracy or

“intimate knowledge of a crime” are against the declarant’s penal interest). Here, nearly

everything Gutierrez tells CW-13—if not otherwise self-incriminating on its face—is

incriminating because it demonstrates Gutierrez’s inside knowledge of MS-13 and the

gang’s activities.

              B. The Circumstances in Which the Statements Were Made
                 Provide Sufficient Corroboration.

       Rule 804(b)(3) also requires that the statement(s) be “supported by corroborating

circumstances that clearly indicate its trustworthiness.” To that end, “It is not necessary

that the corroboration consist of ‘independent evidence supporting the truth of the matter

asserted by the hearsay statements, but evidence that clearly indicates that the statements




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were worthy of belief, based upon the circumstances in which the statements were made.’”

United States v. Pelletier, 666 F.3d 1, 8 (1st Cir. 2011) (citing Barone, 114 F.3d at 1300).

       Here, the circumstances in which the statements were made provide the requisite

corroboration indicating their trustworthiness. Specifically, Gutierrez did not make this

statement to law enforcement, but rather, he made numerous self-incriminating

statements to someone he believed was a fellow MS-13 gang member and confidant. This

factor alone points towards an inherent sense of reliability. See, e.g., Pelletier, 666 F.3d

at 8 (“[T]he fact that [declarant] made the statements to fellow inmate [ ], rather than in

an attempt to curry favor with police, cuts in favor of admissibility.”). Further, the nature

and circumstances of the conversation, in addition to Gutierrez making no effort

whatsoever to minimize his own role or shift blame or curry favor with authorities, all

point towards some basic level of corroboration and trustworthiness.

       Relatedly, to the extent Gutierrez’s statements inculpate co-defendants Duggins,

Vaquerano Canas, and Tercero Yanes in addition to inculpating Gutierrez himself, such

statements are still within the purview of Rule 804(b)(3). See, e.g., Barone, 114 F.3d at

1295 (“A statement against penal interest is not rendered inadmissible ‘merely because

the declarant names another person or implicates a possible codefendant.’”)

(citing Williamson, 512 U.S. at 606 (Scalia, J., concurring)). In Barone, the First Circuit

clarified that when analyzing statements that inculpate both the declarant and the

defendant, such statements may be sufficiently reliable as to be admissible where the

challenged statement are made “to an ally, rather than to a law enforcement official, and

where the circumstances surrounding the portion of the statement that inculpates the

defendant provide no reason to suspect that this portion of the statement is any less

trustworthy than the portion that inculpates the declarant.” 114 F.3d at 1295-96. Here,


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for example, there is no reason to believe that Gutierrez’s self-incriminating statements

about his own participation in the murder of Herson Rivas have an indicia of reliability,

but the related statements about how Vaquerano Canas or someone else was also there

and stabbing Rivas somehow is without the same indicia of reliability. See id.

       United States v. York, 933 F.2d 1343, 1363 (7th Cir. 1991) provides a helpful

summary of the rationale behind this rule: “The fear that inculpatory statements are

unreliable stems largely from the presumption that such statements are self-serving,

offered only to shift the blame from the declarant to another. But when, as here, the

inculpatory portion of a statement is also against the declarant’s interest, or when it is

neutral because the declarant has not attempted to diminish his own role, there is little

reason to suspect that portion of an otherwise reliable statement is untrustworthy.” Given

Gutierrez’s graphic descriptions of his own participation in the murder of Rivas, and his

lack of any effort whatsoever to shift blame or minimize his own participation, there is

little reason to suspect that his statements inculpating his co-conspirators are

untrustworthy.

              C. Independent Evidence Provides Sufficient Corroboration.

       Finally, the government notes that at trial, there will be significant independent

evidence corroborating the statements made by Gutierrez on the October 24, 2018

recording. For example, the government will likely have two co-conspirators testifying

about the participation of the remaining defendants in the MS-13 conspiracy, and the

participation of Gutierrez, Vaquerano, Tercero, and others in the murder of Rivas. The

government notes that, to date, the defendants have done little more than raise

generalized complaints that perhaps Gutierrez’s statements cannot be corroborated, but

they have yet to argue that the critical portions of Gutierrez’s statements are contradicted


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by other evidence. The government can make an offer of proof that other evidence will

further provide corroboration for Gutierrez’s statements and the government can brief

this issue further, if needed. For now, the government simply notes that Gutierrez’s

statements to CW-13 were recorded, are plainly against his self-interest, and were made

in circumstances that indicate their trustworthiness. See Pelletier, 666 F.3d at 8; see also

United States v. Veloz, 948 F.3d 418, 431 (1st Cir. 2020) (holding that there was “no

merit” to a defendant’s challenge to the admission of statements under Rule 804(b)(3)

because, among other things, the statements were made to a fellow inmate and had indicia

of reliability).

        IV.        Cases Identified by the Court Further Support the Admissibility
                   of Gutierrez’s Statements Against His Co-Defendants and There
                   is No Confrontation Clause Violation.

        In an order dated February 4, 2021, the court asked the parties to address three

Court of Appeals cases as part of the discussion on whether Gutierrez’s statements are

admissible against his co-defendants under Rule 804(b)(3). See Dkt. No. 576. Each of

the three cases identified by the court strongly support the government’s position and the

admission of Gutierrez’s statements against his co-defendants.

        In United States v. Volpendesto, 746 F.3d 273, 289-92 (7th Cir. 2014), the Seventh

Circuit analyzed the admission of recorded statements unwittingly made by a co-

defendant to an informant in a RICO conspiracy case. Another defendant objected to the

introduction of statements made by the co-defendant/co-conspirator, arguing that the

statements did not qualify under the statements against interest exception to hearsay

outlined in Rule 804(b)(3). The court found no error in the introduction of the co-

defendant’s statements, finding that the challenged statements “fit comfortably within the

exception.” Id. at 288. For present purposes, the court’s analysis of what constitutes an


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inculpatory statement is especially instructive. See id. at 288-89. In particular, the court

noted that “statements that demonstrate a declarant’s inside knowledge of a crime” and

“statements that display the declarant’s ‘intimate knowledge of a crime’ are against the

declarant’s penal interest. Id. at 288 (citations omitted).

       Applied to the facts of this case, the principles discussed in Volpendesto make clear

that Gutierrez’s statements—even in those instances when they are not explicitly against

Gutierrez’s own penal interests—are nonetheless statements against his interest because

they demonstrate Gutierrez’s “inside knowledge” and “intimate knowledge” about the

MS-13 criminal enterprise and the charged racketeering conspiracy.        For example, on

numerous occasions in the transcript, Gutierrez makes clear—at least implicitly if not

explicitly—that he has personal knowledge about the MS-13 gang, and his personal

involvement is part of the basis of his statements about both himself and his co-

defendants. Accordingly, when Gutierrez makes statements about Duggins, Vaquerano

Canas, or Tercero Yanes, those are not “exculpatory” or “burden shifting” statements but

are still “statements against interest” because the statements also necessarily

demonstrate his own membership and participation in the MS-13 enterprise. Just like in

Volpendesto, in which “All of the challenged portions of the recording … demonstrated

Volpendesto’s inside knowledge of the crime and its surrounding events,” id. at 288, the

Gutierrez recording also shows his inside knowledge of the crime [RICO conspiracy] and

its surrounding events. Thus, Gutierrez’s statements are admissible as statements against

interest under Rule 804(b)(3). 2


2      In Volpendesto, the district court also alternatively admitted the incriminating
statements against the co-defendants under Rule 801(d)(2)(E) as co-conspirator
exceptions to hearsay. See 746 F.3d at 288, n. 5. Because the Seventh Circuit held that
the statements were properly introduced under the statement-against-interest exception,

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       Separately, Volpendesto makes clear that when it comes to statements against

interest, “once the hearsay is deemed sufficiently reliable to qualify for the exception, it

may be used for any purpose, including as substantive evidence of a co-defendant's guilt.”

Id. (citing, inter alia, United States v. Hamilton, 19 F.3d 350, 354-57 (7th Cir. 1994) for

the proposition that admitting a co-defendant’s hearsay statement against a non-

declarant defendant under Rule 804(b)(3) does not constitute a Bruton violation).

       The Seventh Circuit’s discussion of the Bruton issue in Volpendesto is consistent

with the First Circuit’s Bruton jurisprudence—the First Circuit has repeatedly stated that

non-testimonial statements simply do not implicate Bruton. See, e.g., United States v.

Castro-Davis, 612 F.3d 53, 65–66 (1st Cir. 2010) (“Since we have determined that the

recorded conversation was non-testimonial, Bruton is not implicated.”).             Like the

recorded conversations in Castro-Davis and Volpendesto, the recorded conversations of

Gutierrez are non-testimonial and thus do not implicate the rule in Bruton. Once

qualified as statements against interest under Rule 804(b)(3), Gutierrez’s statements can

be admitted against his co-defendants without violating Bruton, Crawford, or the

Confrontation Clause (all of which apply only to testimonial statements).

       United States v. Clark, 717 F.3d 790, 813-17 (10th Cir. 2013) merits a similar

conclusion. In Clark, the Tenth Circuit analyzed at great length whether the admission

of a non-testifying co-defendant’s statements in a joint trial violated the defendant’s

Confrontation Clause rights, concluding that it did not. See id. In sum, the court

concluded that the Confrontation Clause—and cases like Bruton and Crawford—only




it did not address this alternate basis for their admission. Id. The government highlights
this simply to reiterate its intention to seek alternate basis to admit Gutierrez’s statements
under Rule 801(d)(2)(E) and the prudence of such an approach.

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apply to testimonial statements. Id. at 814-816. Given that the co-defendant’s statements

in that case were not testimonial in the first instance, the court concluded that any Bruton

claim must necessarily fail. Id. at 817.

       The Tenth Circuit’s reasoning in Clark is sound and consistent with the First

Circuit’s Confrontation Clause jurisprudence post-Bruton and post-Crawford. See, e.g.,

United States v. Figueroa-Cartagena, 612 F.3d 69, 85 (1st Cir. 2010) (“The Bruton/

Richardson framework presupposes that the aggrieved co-defendant has a Sixth

Amendment right to confront the declarant in the first place. If none of the co-defendants

has a constitutional right to confront the declarant, none can complain that his right has

been denied. It is thus necessary to view Bruton through the lens of Crawford and

Davis.”). As the First Circuit went on to state in Figueroa-Cartagena, “The threshold

question in every case is whether the challenged statement is testimonial. If it is not, the

Confrontation Clause has no application.” 612 F.3d at 85 (quotation omitted). See also

United States v. Johnson, 581 F.3d 320, 326 (6th Cir. 2009) (“Because it is premised on

the Confrontation Clause, the Bruton rule, like the Confrontation Clause itself, does not

apply to nontestimonial statements.”). Given that Gutierrez’s statements to CW-13 were

nontestimonial, the Confrontation Clause has no application, there is no Crawford

violation, and Bruton does not require severance.

       Notably, the First Circuit reaffirmed the important interplay between the

Confrontation Clause and testimonial statements as recently as this past month. See

United States v. Estes, -- F.3d --, 2021 WL 128707 at *5 (Jan. 14, 2021) (“It is well-settled

that when a statement is non-testimonial, there is no right to confrontation.”) (citations

omitted) (citing numerous cases from the Supreme Court and the First Circuit outlining

this critical requirement).    Neither Gutierrez nor his co-defendants can make the


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threshold showing that Gutierrez’s unwitting statements to an informant were

testimonial.   Accordingly, given that Gutierrez’s statements to CW-13 were non-

testimonial, there is no right to confrontation. It follows that if Gutierrez’s statements are

admitted into evidence as statements against interest (or under some other rule of

evidence), there would be no Confrontation Clause or Bruton violation.

       Finally, as to the applicability of the third case identified by the court, United States

v. Kirk Tang Yuk, 885 F.3d 57 (2d Cir. 2018), in that case, the Second Circuit rejected as

“meritless” a defendant’s argument that certain testimony about statements made in jail

violated his Confrontation Clause rights. Id. at 81, n. 13 (noting that “for Confrontation

Clause purposes, the question is whether, in light of all the circumstances, viewed

objectively, the primary purpose of the conversation was to create an out-of-court

substitute for trial testimony”) (citation omitted). The circumstances of the statements

in Kirk Tang Yuk differ slightly from the circumstances of the statements in this case, but

in any event, for the reasons previously stated, “in light of all the circumstances, viewed

objectively,” the primary purpose of Gutierrez’s discussion with CW-13 was not to create

testimonial statements. As Gutierrez himself made clear in his motion to suppress, he did

not know that he was speaking to someone who was an informant or a law enforcement

agent, and he had no reason to believe that his statements were testimonial. The

framework outlined in Kirk Tang Yuk is consistent with First Circuit law, and to the extent

the First Circuit has opined on this issue, the court appears to have consistently held that

statements made to non-law enforcement personnel are not testimonial. See, e.g.,

Pelletier, 666 F.3d at 9-10 (finding that statements made from one inmate to another

under informal circumstances were not testimonial); United States v. Castro-Davis, 612

F.3d 53, 65 (1st Cir. 2010) (finding that statements made by defendant to his mother in a


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recorded telephone conversation were not testimonial); Horton v. Allen, 370 F.3d 75, 84

(1st Cir. 2004) (finding that statements made to an acquaintance during a private

telephone conversation were not testimonial).

                                    CONCLUSION

      Gutierrez’s statements to CW-13 were against his penal interest and otherwise

demonstrated his intimidate knowledge and/or inside information about the MS-13

enterprise and the charged conspiracy.     Accordingly, his statements are admissible

against him as statements against interest under Fed. R. Evid. 804(b)(3). Once deemed

to be admissible under Rule 804(b)(3), the statements can be used for any purpose,

including as substantive evidence against Gutierrez’s co-defendants.         Gutierrez’s

statements to CW-13 were not testimonial, and accordingly, admitting the statements

against Gutierrez’s codefendants would not violate their Confrontation Clause rights.

      For the reasons above, the Court should provisionally rule that Gutierrez’s

statements will be admissible at trial against all remaining codefendants under Fed. R.

Evid. 804(b)(3). At trial, the government intends to also provide alternate grounds for

the admissibility of Gutierrez’s statements. Among other things, Gutierrez’s statements

are also admissible against him under Fed. R. Evid. 801(d)(2)(A) as statements of a party

opponent, and Gutierrez’s statements are admissible against his co-defendants under

Fed. R. Evid. 801(d)(2)(E) as statements by a co-conspirator in furtherance of the

conspiracy. Many of the statements are also likely to be admissible for a non-hearsay

purpose. For now, the motions in limine seeking to exclude the Gutierrez statements

should be DENIED.




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                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                         By: /s/ Kunal Pasricha
                                             KUNAL PASRICHA
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                                             District of Massachusetts




; Dkt. No. __ (Government’s opposition to motion to suppress filed by Gutierrez (Dkt.
                                     No. __));




                              Certificate of Service




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                                           By: /s/ Kunal Pasricha
                                               KUNAL PASRICHA
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